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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


REPUBLICAN NATIONAL COMMITTEE,

                   Plaintiff,                  Case No. 1:22-cv-00659-TJK
      v.

NANCY PELOSI, et al.,

                   Defendants.




                                 Exhibit 1
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                                          March 21, 2022
Salesforce.com, Inc.
415 Mission Street, 3rd Floor
San Francisco, CA 94105

Dear Custodian of Records:

        The Select Committee to Investigate the January 6th Attack on the United States Capitol
is investigating the facts, circumstances, and causes of the January 6th attack and issues relating
to the peaceful transfer of power. The inquiry includes examination of how various individuals
and entities coordinated their activities leading up to the events of January 6, 2021, as well as the
influencing factors that fomented the attack on the United States Capitol. This letter confirms
conversations Select Committee staff have had with Salesforce representatives regarding the scope
of the subpoena the Select Committee served upon Salesforce on February 23, 2022.
       Specifically, the subpoena requested the following records:
   •   Request No. 1: All performance metrics and analytics related to email campaigns by or on
       behalf of Donald Trump for President, Inc. (“Trump Campaign”), the Republican National
       Committee (“RNC”), or the Trump Make America Great Again Committee (“TMAGAC”),
       including but not limited to delivery metrics (send rates and bounce rates), engagement
       metrics (opens, open rates, clicks, click rates, and click-to-open rates), time attributes, and
       message attributes.
   •   Request No. 2: All records related to login sessions by individuals associated with the
       Trump Campaign or the RNC into Salesforce’s Marketing Cloud platform, including all
       related metadata.
   •   Request No. 3: For the time period of January 1, 2021, to January 31, 2021, all documents
       and communications concerning investigative reports or analyses conducted by Salesforce
       regarding the protests, marches, public assemblies, rallies, or speeches in Washington, D.C.
       on January 5, 2021, or January 6, 2021 (collectively, the “Washington Rallies”).
   •   Request No. 4: For the time period of November 3, 2020, to January 31, 2021, all
       documents and communications concerning investigative reports or analyses conducted by
       Salesforce regarding the use of Salesforce’s platforms by the RNC or the Trump Campaign
       and related materials.
   •   Request No. 5: For the time period of November 3, 2020, to January 31, 2021, all
       communications between Salesforce representatives and representatives of the RNC or the
       Trump Campaign concerning the 2020 Presidential election, the continued use of
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Salesforce.com, Inc.
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        Salesforce’s platforms by the RNC or the Trump Campaign, the Washington Rallies, or
        any of the facts and circumstances of the topics that are the subject of any of the above
        requests.
       The Stored Communications Act (“SCA”) limits a provider’s voluntary disclosure of
communications content, unless one of the statutory exceptions applies. 18 U.S.C. § 2702(a) &
(b). But as we have made clear, the Select Committee is not seeking communications content
covered by the SCA.1 Nor are we seeking any disaggregated information about donors to the RNC,
disaggregated information about recipients of solicitations from the RNC, or email addresses
acquired by the RNC through voter registration drives, GOTV efforts, or coalition signups.
        The SCA expressly permits a provider to disclose “a record or other information pertaining
to a subscriber to or customer of such service” to “any person other than a governmental entity,”
Id. § 2702(c)(6), and the statute specifically defines “governmental entity” in a manner that
excludes committees of Congress. Because, as a committee of the House, the Select Committee is
not a “governmental entity” under the terms of the statute, the SCA does not prohibit disclosing
customer records and other customer- or subscriber-related information to the Select Committee.
We wish to stress, however, that we are not seeking any individual records or information on
donors to the RNC or those whom the RNC solicited.
        Nothing in the act limits the ability of a Congressional committee to obtain non-content
information from a “person or entity providing electronic communication service to the public”
via a lawful and duly authorized congressional subpoena. 18 U.S.C. § 2702(a)(1) & (c)(6). To the
extent the RNC had communications with Salesforce that reveal the content of a previous
fundraising email, we would not expect Salesforce to produce the portion of that communication
that reveals the content of the fundraising email.
        If you have any questions, please contact my staff at 202-225-7800. Thank you for your
attention to these issues.


                                                     Sincerely,



                                                     Bennie G. Thompson
                                                     Chairman



1
 The specific data and communications sought by the subpoena fall outside the scope of the information that the SCA
protects. Requests one and two seek data hosted by Salesforce, not communications; they do not seek fundraising
emails, but rather seek data regarding the RNC’s use of Salesforce’s tools. Requests three to five seek
communications: (1) between the RNC and Salesforce, and (2) internal Salesforce communications regarding the
RNC, which are not communications that Salesforce is handling or storing pursuant to its role as “an electronic
communication service,” 18 U.S.C. § 2510(15), or a “remote computing service,” 18 U.S.C. § 2711(2).



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